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           DEPARTMENT OF HEALTH & HUMAN SERVICES                                  Office of the Secretary


                                                                                  The General Counsel
                                                                                  Washington, DC 20201




                                                    April 7, 2025


      NOTE TO:       THE CHIEF OF STAFF

      SUBJECT:      Temporary Restraining Order – State of Colorado, et al v. U.S. Department
      of Health and Human Services et al, Civil Action No. 1:25-cv-00121

      Twenty-three states and the District of Columbia have challenged the Department of Health
      and Human Services’ (HHS), and Secretary Kennedy’s (in his official capacity)
      termination of approximately $11 billion dollars in COVID funding issued in the form of
      grants to the Plaintiff States.

      On April 3, 2025, the District Court for the District of Rhode Island, after a hearing, issued
      a Temporary Restraining Order (TRO) until the earlier of April 17, 2024, or the Court rules
      upon Plaintiff States forthcoming motion for a preliminary injunction. Currently, the TRO
      applies to the Plaintiff States and their local agencies, and the District of Columbia only.
      Pursuant to that TRO, HHS (and all its respective officers, agents, servants, employees and
      attorneys, and any persons in active concert or participation with them who receive actual
      notice of the TRO are fully restrained from:

         1) Implementing or enforcing funding terminations that were issued to the Plaintiff
            States, including their local health jurisdictions and any bona fide fiscal agents of
            Plaintiff States or their local health jurisdictions, on or after March 24, 2025, for
            reasons related to the end of the COVID-19 pandemic, the “Public Health
            Terminations” as defined in Plaintiffs’ Motion for Temporary Restraining Order, or
            from issuing new funding terminations for the same reasons; and

         2) Withholding any funds based on the Public Health Terminations and shall make
            such funds available and process all payments as if the Public Health Terminations
            had not been issued. HHS is not restrained from implementing the termination of
            funding for any grant, contract, or agreement, other than the Public Health
            Terminations to Plaintiff States, or from terminating any grant, contract, or
            agreement, to the extent permitted by applicable law, for reasons other than those
            described in Plaintiffs’ Motion for Temporary Restraining Order.

      HHS must immediately take every step necessary to effectuate this TRO, including clearing
      any administrative, operational, or technical hurds to implementation.
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      Pending any further instructions from the Court, HHS should ensure that it is not
      implementing, applying, or enforcing any terminations with respect to these awards against
      the Plaintiff States.

      If you have any questions, please work with your usual contact in the Office of the General
      Counsel.




                                                  Sean R.
                                                       R Keveney
                                                  Acting General Counsel


      Plaintiff States:

      Colorado
      Rhode Island
      California
      Minnesota
      Washington
      Arizona
      Connecticut
      Delaware
      District of Columbia
      Hawaii
      Illinois
      Kentucky
      Maine
      Maryland
      Massachusetts
      Michigan
      Nevada
      New Jersey
      New Mexico
      New York
      North Carolina
      Oregon
      Pennsylvania
      Wisconsin
